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  7                              UNITED STATES DISTRICT COURT
  8                CENTRAL DISTRICT OF CALIFORNIA, CENTRAL DIVISION
  9
    ESTATE OF YARETH AGUILAR                           Case No. 5:23-cv-01196
 10 VILLAGOMEZRAYMOND VILLAGOMEZ,
    IRIS MENDEZ, CIANNAH VILLAGOMEZ,                   NOTICE OF NON-SETTLEMENT OF
 11 AND NATHAN VILLAGOMEZ,                             CASE & REQUEST TO RESTORE TO
                                                       ACTIVE CALENDAR
 12                       Plaintiffs,
 13                                                    Judge:      Hon. Stephen V. Wilson
                    vs                                 Magistrate: Hon. Steve Kim
 14                                                    Department: 10D
    COUNTY OF RIVERSIDE, RIVERSIDE
 15 COUNTY SHERIFFS DEPARTMENT;
    SHERIFF CHAD BIANCO, in his
 16
    individual and official capacities;
 17 EDWARD DELGADO; JAMES
    KRACHMER; ALYSSA VERNAL; and
 18 DOES 1 through 100, individually,
    jointly and severally,
 19
                           Defendants.
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      TO ALL PARTIES & THEIR RESPECTIVE COUNSEL:
 22
      PLEASE TAKE NOTICE that this matter has not been settled and should be restored to the active
 23

 24 calendar.

 25 DATED: March 4, 2024                                        Joseph C. Rosenblit
 26
                                                               JOSEPH C. ROSENBLIT
 27                                                            Attorney for the Plaintiffs
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         NOTICE OF NON-SETTLEMENT OF CASE & REQUEST TO RESTORE TO CIVIL ACTIVE CALENDAR
